From: Alan Kesner

Sent: Thursday, September 17, 2020 12:17 PM

To: Hanna Kolberg; James Archambo; Barry Weber; James Case;
Dennis McBride; Melissa Weiss; Laura Conklin; Laura Stephens

Subject: Emergency declaration civil unrest generic draft

Attachments: Emergency declaration civil unrest generic draft.docx

| have put together a “generic” emergency declaration for the Mayor to use in the event of civil
unrest, which outlines some of the most relevant possibilities and some of the potential options for
actions/limitations throughout the City based upon the known possibilities. Hopefully, this can
provide a basis for quickly declaring an emergency when necessary. This form is probably broader
than will be needed in any particular situation, so sections can be removed or modified as necessary,
and it also provides a template paragraph for additional emergency actions which may be deemed
necessary based upon any specific situation which might arise.

| figure this is a good form for us to have “in the toolkit” in order to best be prepared for any such
possibility should it arise.

Please provide any feedback/questions/ concerns/suggestions if you notice anything which would be
helpful or useful to have in this generic form. Feel free to share with others in your departments who
may have additional input or suggestions.

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

Case 2:20-cv-01660-NJ Filed 02/02/23. Page1of38 Document 289-2
MAYORAL PROCLAMATION/GENERIC DRAFT FOR POSSIBLE USE IN THE ENVENT OF CIVIL UNREST:

[ADD OR REMOVE SECTIONS AS NECESSARY TO ADDRESS CONDIITIONS BASED UPON SPECIFIC
SITUATION WHICH MAY BE ARISING]

[Create Final version for execution on Mayoral letterhead or in the form of a formal proclamation with
City Seal]

Drafted September 17, 2020

Alan Kesner, Wauwatosa City Attorney

3 9 oe oie oe ie ie oe ok ok

PROCLAMATION

WHEREAS, on [DATE] the Wauwatosa [Police/Fire/Health] Department confirmed that a potential
emergency situation exists in the City of Wauwatosa due to [unrest in the Milwaukee area/or insert
facts describing other more specific situations] which creates concerns for safety of citizens [and
property] and impairs [Choose all that apply: transportation/food or fuel supplies/medical care/fire/ or
health or police protection/other critical systems] in the City of Wauwatosa; and

WHEREAS, [STATE NECESSARY protections being provided. Examples: (removing traffic and pedestrians
from the streets of Wauwatosa/limiting the supply of flammable materials/reducing access to certain
facilities/clearing the roadways of parked vehicles and other obstructions/preserving resources for
expected responses/protecting the safety of city-school-public employees] in the most expedient
manner possible is necessary to reduce the possibility of safety risks related to such activity and to
protect persons and property in the City of Wauwatosa; and

[FOR IMPOSITION OF CURFEW: WHEREAS, it is in the best interest of the City of Wauwatosa to enact a
curfew by which pedestrian and vehicular traffic on the streets of the City, with the exception of citizens
who are going to or from work, government officials, social service workers and credentialed members
of the Press acting in their official capacity, is prohibited between the hours of [X]:00 p.m. on [DATE],
through [X]:00 a.m. on [DATE], and between the hours of [X]:00 p.m. on each night thereafter, through
[X]:00 a.m. on [DATE]; and]

[FOR LIMITING OVERNIGHT PARKING: WHEREAS, it is in the best interest of the City of Wauwatosa to
prohibit overnight parking of vehicles and removing all possible traffic obstructions in order to protect
and preserve the ability of emergency service providers to respond when and where necessary between
the hours of [X]:00 p.m. on [DATE], and each night thereafter until [X]:00 a.m. on [DATE]; and]

[FOR CLOSURE OF GAS STATIONS: WHEREAS, it is in the best interest of the City of Wauwatosa to
prohibit access to fuel and other readily combustible materials by closing gasoline stations and other
facilities which provide access to materials which could be used to start or accelerate the burning of
buildings and other property thereby potentially causing severe damage to property or injuries to
people, and also by limiting the use or transportation of small containers used or capable of being used
to transport and dispense such materials by persons seeking to cause damage of this type, between the
hours of [X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00 a.m. on [DATE]; and]

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 2of38 Document 289-2
[FOR CLOSING CITY BUILDINGS/FACILITIES/SCHOOLS: WHEREAS, it is in the best interest of the City of
Wauwatosa to close all City of Wauwatosa/Wauwatosa School District facilities from access by members
of the public during this state of emergency in order to protect the safety and integrity of the persons and
resources necessary to continue the orderly functioning of city government and other government
services (and to protect the ability to continue the education of children in the community) beginning at
[X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00 a.m. on [DATE]; and]

[FOR OTHERE EMERGENCY ACTIONS REQUIRED: WHEREAS, it is in the best interest of the City of
Wauwatosa to [what is being ordered] during this state of emergency in order to [what is being protected
or preserved by this action] beginning at [X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00
a.m. on [DATE]; and]

NOW, THEREFORE, |, Dennis McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Wisconsin Statutes sections 323.11 and 323.14(4)(b), declare that the above conditions have
given rise to [a riot or civil commotion/a disaster/an imminent threat of a disaster], which [impairs
transportation/food or fuel supplies/medical care/fire/health/police protection/other critical systems]
thereby creating a state of emergency in the City of Wauwatosa and the proclamation of an emergency
is necessary and expedient for the health, safety and protection of the people and property in the City of
Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect the property and persons within the City of Wauwatosa are hereby ordered to be
implemented as therein described; and

FINALLY, this proclamation of an emergency shall be from today's date until [END DATE] at [TIME] and
shall be subject to ratification, alteration, modification, or repeal by the Common Council as soon as the
council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis McBride, Mayor

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 3of38 Document 289-2
From: Alan Kesner

Sent: Thursday, September 17, 2020 2:30 PM

To: Hanna Kolberg; James Archambo; Barry Weber; James Case;
Dennis McBride; Melissa Weiss; Laura Conklin; Laura Stephens;
Eva Ennamorato; Joseph Roy

Subject: RE: Emergency declaration civil unrest generic draft

Attachments: Emergency declaration civil unrest generic draft 2.docx

Draft 2 attached. Slight changes after EOC meeting this afternoon

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

From: Alan Kesner

Sent: Thursday, September 17, 2020 12:17 PM

To: Hanna Kolberg <hkolberg@wauwatosa.net>; James Archambo <jarchambo@wauwatosa.net>;
Barry Weber (bweber @wauwatosa.net) <bweber@wauwatosa.net>; James Case
<jcase@wauwatosa.net>; Dennis McBride <dmcbride@wauwatosa.net>; Melissa Weiss
<mweiss@wauwatosa.net>; Laura Conklin <Iconklin@wauwatosa.net>; Laura Stephens
<lstephens@wauwatosa.net>

Subject: Emergency declaration civil unrest generic draft

| have put together a “generic” emergency declaration for the Mayor to use in the event of civil
unrest, which outlines some of the most relevant possibilities and some of the potential options for
actions/limitations throughout the City based upon the known possibilities. Hopefully, this can
provide a basis for quickly declaring an emergency when necessary. This form is probably broader
than will be needed in any particular situation, so sections can be removed or modified as necessary,
and it also provides a template paragraph for additional emergency actions which may be deemed
necessary based upon any specific situation which might arise.

| figure this is a good form for us to have “in the toolkit” in order to best be prepared for any such
possibility should it arise.

Please provide any feedback/questions/ concerns/suggestions if you notice anything which would be
helpful or useful to have in this generic form. Feel free to share with others in your departments who
may have additional input or suggestions.

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 4of38 Document 289-2
MAYORAL PROCLAMATION/GENERIC DRAFT FOR POSSIBLE USE IN THE EVENT OF CIVIL UNREST:

[ADD OR REMOVE SECTIONS AS NECESSARY TO ADDRESS CONDIITIONS BASED UPON SPECIFIC
SITUATION WHICH MAY BE ARISING]

[Create Final version for execution on Mayoral letterhead or in the form of a formal proclamation with
City Seal]

Drafted September 17, 2020

Alan Kesner, Wauwatosa City Attorney

3 9 oe oie oe ie ie oe ok ok

PROCLAMATION

WHEREAS, on [DATE] the Wauwatosa [Police/Fire/Health] Department confirmed that a potential
emergency situation exists in the City of Wauwatosa due to [unrest in the Milwaukee area/or insert
facts describing other more specific situations] which creates concerns for safety of citizens [and
property] and impairs [Choose all that apply: transportation/food or fuel supplies/medical care/fire/ or
health or police protection/other critical systems] in the City of Wauwatosa; and

WHEREAS, [STATE NECESSARY protections being provided. Examples: (removing traffic and pedestrians
from the streets of Wauwatosa/limiting the supply of flammable materials/reducing access to certain
facilities/clearing the roadways of parked vehicles and other obstructions/preserving resources for
expected responses/protecting the safety of city-school-public employees] in the most expedient
manner possible is necessary to reduce the possibility of safety risks related to such activity and to
protect persons and property in the City of Wauwatosa; and

[FOR IMPOSITION OF CURFEW: WHEREAS, it is in the best interest of the City of Wauwatosa to enact a
curfew by which pedestrian and vehicular traffic on the streets of the City, with the exception of citizens
who are going to or from work, government officials, social service workers and credentialed members
of the Press acting in their official capacity, is prohibited between the hours of [X]:00 p.m. on [DATE],
through [X]:00 a.m. on [DATE], and between the hours of [X]:00 p.m. on each night thereafter, through
[X]:00 a.m. on [DATE]; and]

[FOR LIMITING OVERNIGHT PARKING: WHEREAS, it is in the best interest of the City of Wauwatosa to
prohibit overnight parking of vehicles and removing all possible traffic obstructions in order to protect
and preserve the ability of emergency service providers to respond when and where necessary between
the hours of [X]:00 p.m. on [DATE], and each night thereafter until [X]:00 a.m. on [DATE]; and]

[FOR CLOSURE OF GAS STATIONS: WHEREAS, it is in the best interest of the City of Wauwatosa to
prohibit access to fuel and other readily combustible materials by closing gasoline stations and other
facilities which provide access to materials which could be used to start or accelerate the burning of
buildings and other property thereby potentially causing severe damage to property or injuries to
people, and also by limiting the use or transportation of small containers used or capable of being used
to transport and dispense such materials by persons seeking to cause damage of this type, between the
hours of [X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00 a.m. on [DATE]; and]

Case 2:20-cv-01660-NJ Filed 02/02/23 Page5of38 Document 289-2
[FOR REDUCING OR SUSPENDING CITY OR OTHER GOVERNMENT SERVICES: WHEREAS, it is in the best
interest of the City of Wauwatosa to suspend the conduct of [Define Specific CITY SERVICE] from access
or use by members of the public during this state of emergency in order to protect the safety and integrity
of city staff and resources and to continue the orderly functioning of city government and other
government services beginning at [X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00 a.m.
on [DATE]; and]

[FOR CLOSING CITY BUILDINGS/FACILITIES/SCHOOLS: WHEREAS, it is in the best interest of the City of
Wauwatosa to close all City of Wauwatosa/Wauwatosa School District facilities from access by members
of the public during this state of emergency in order to protect the safety and integrity of the persons and
resources necessary to continue the orderly functioning of city government and other government
services (and to protect the ability to continue the education of children in the community) beginning at
[X]:00 p.m, on [DATE], and each night/day thereafter until [X]:00 a.m. on [DATE]; and]

[FOR OTHER EMERGENCY ACTIONS REQUIRED: WHEREAS, it is in the best interest of the City of
Wauwatosa to [what is being ordered] during this state of emergency in order to [what is being protected
or preserved by this action] beginning at [X]:00 p.m. on [DATE], and each night/day thereafter until [X]:00
a.m. on [DATE]; and]

NOW, THEREFORE, |, Dennis McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Wisconsin Statutes sections 323.11 and 323.14(4)(b), declare that the above conditions have
given rise to [a riot or civil commotion/a disaster/an imminent threat of a disaster], which [impairs
transportation/food or fuel supplies/medical care/fire/health/police protection/other critical systems]
thereby creating a state of emergency in the City of Wauwatosa and the proclamation of an emergency
is necessary and expedient for the health, safety and protection of the people and property in the City of
Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect the property and persons within the City of Wauwatosa are hereby ordered to be
implemented as therein described; and

FINALLY, this proclamation of an emergency shall be from today's date until [END DATE] at [TIME] and
shall be subject to ratification, alteration, modification, or repeal by the Common Council as soon as the
council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis McBride, Mayor

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 6of38 Document 289-2
From: Dennis McBride

Sent: Thursday, September 17, 2020 7:45 PM

To: Alan Kesner; Hanna Kolberg; James Archambo; Barry Weber;
James Case; Melissa Weiss; Laura Conklin; Laura Stephens; Eva
Ennamorato; Joseph Roy

Subject: Re: Emergency declaration civil unrest generic draft

Attachments: City - Emergency Declaration.9-17-20.docx

I've just revised the Proclamation a bit. The revised document is attached. The biggest
substantive change is to add hardware stores and home improvement stores to the closure of
facilities, like gas stations, that could sell fuel and other flammable materials to would-be
troublemakers. Please let me know what you think.

Dennis R. McBride
Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Alan Kesner

Sent: Thursday, September 17, 2020 6:47:33 PM

To: Dennis McBride; Hanna Kolberg; James Archambo; Barry Weber; James Case; Melissa Weiss; Laura
Conklin; Laura Stephens; Eva Ennamorato; Joseph Roy

Subject: RE: Emergency declaration civil unrest generic draft

Yep, just wanted the language to be available in case it was there. This is designed to fill in blanks and
take out the stuff we’re not using. Easier than adding stuff in as we go.

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

From: Dennis McBride <dmcbride@wauwatosa.net>

Sent: Thursday, September 17, 2020 6:46 PM

To: Alan Kesner <akesner@wauwatosa.net>; Hanna Kolberg <hkolberg@wauwatosa.net>; James
Archambo <jarchambo@wauwatosa.net>; Barry Weber <bweber@wauwatosa.net>; James Case
<jcase@wauwatosa.net>; Melissa Weiss <mweiss@wauwatosa.net>; Laura Conklin
<lconklin@wauwatosa.net>; Laura Stephens <Istephens@wauwatosa.net>; Eva Ennamorato
<eennamorato@wauwatosa.net>; Joseph Roy <jroy@wauwatosa.net>

Subject: Re: Emergency declaration civil unrest generic draft

| think | should talk to Superintendent Ertl before taking any action to shut down schools.
Dennis R. McBride

Mayor, City of Wauwatosa
7725 West North Avenue

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 7of38 Document 289-2
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Alan Kesner

Sent: Thursday, September 17, 2020 2:30:17 PM

To: Hanna Kolberg; James Archambo; Barry Weber; James Case; Dennis McBride; Melissa Weiss; Laura
Conklin; Laura Stephens; Eva Ennamorato; Joseph Roy

Subject: RE: Emergency declaration civil unrest generic draft

Draft 2 attached. Slight changes after EOC meeting this afternoon

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

From: Alan Kesner

Sent: Thursday, September 17, 2020 12:17 PM

To: Hanna Kolberg <hkolberg@wauwatosa.net>; James Archambo <jarchambo@wauwatosa.net>;
Barry Weber (bweber @wauwatosa.net) <bweber@wauwatosa.net>; James Case
<jcase@wauwatosa.net>; Dennis McBride <dmcbride@wauwatosa.net>; Melissa Weiss
<mweiss@wauwatosa.net>; Laura Conklin <lconklin@wauwatosa.net>; Laura Stephens
<Istephens@wauwatosa.net>

Subject: Emergency declaration civil unrest generic draft

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Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

Case 2:20-cv-01660-NJ Filed 02/02/23 Page 8of38 Document 289-2
MAYORAL PROCLAMATION/GENERIC DRAFT FOR POSSIBLE USE IN THE EVENT OF CIVIL UNREST:

[ADD OR REMOVE SECTIONS AS NECESSARY TO ADDRESS CONDIITIONS BASED UPON SPECIFIC SITUATION
WHICH MAY BE ARISING]

[Create Final version for execution on Mayoral letterhead or as a formal proclamation with City Seal]

Drafted September 17, 2020, by Alan Kesner, Wauwatosa City Attorney

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, on [DATE], 2020, the Wauwatosa [Police/Fire/Health] Department has confirmed that an
emergency exists in the City of Wauwatosa due to [unrest in the Milwaukee area/or insert facts
describing other more specific situations] which creates concerns for the safety of persons and property
and impairs [Choose all that apply: transportation/food or fuel supplies/medical care/fire/ or health or
police protection/other critical systems] in Wauwatosa; and

WHEREAS, [STATE NECESSARY protections being provided. Examples: (removing traffic and pedestrians
from Wauwatosa streets/limiting the supply of flammable materials/reducing access to certain
facilities/clearing the roadways of parked vehicles and other obstructions/preserving resources for
expected responses/protecting the safety of city-school-public employees] in the most expedient manner
possible is necessary to reduce safety risks related to such activity and to protect persons and property
in Wauwatosa; and

[FOR IMPOSITION OF CURFEW: WHEREAS, it is in the City of Wauwatosa’s best interest to enact a
curfew by which pedestrian and vehicular traffic on Wauwatosa streets — except for persons who are
going to or from work and government officials, social service workers, and credentialed members of
the press acting in their official capacities — is prohibited between the hours of __:00 p.m. on ,
2020, through 6:00 a.m. on , 2020, and between the hours of 7:00 p.m. and 6:00 a.m. on each
night thereafter through , 2020; and]

[FOR LIMITING OVERNIGHT PARKING: WHEREAS, it is in the City of Wauwatosa’s best interest to
prohibit overnight parking of vehicles and remove all possible traffic obstructions in Wauwatosa to
protect and preserve the ability of emergency service providers to respond when and where necessary
between the hours of — :00 p.m. on , 2020, and each night thereafter until 6:00 a.m. on

2020; and]

[FOR CLOSURE OF GAS STATIONS, ETC.: WHEREAS, it is in the City of Wauwatosa’s best interest to
prohibit access to fuel and other readily combustible materials by closing gasoline stations, hardware
stores, home improvement stores, and other facilities in Wauwatosa which provide access to materials
which could be used to start or accelerate the burning of buildings and other property and thereby
potentially cause injuries to people or damage to property, and also by limiting the use or transportation
of containers used or capable of being used to transport and dispense such materials by persons seeking
to cause damage of this type, between the hours of __:00 p.m. on , 2020, and each night/day
thereafter until __:00 a.m. on , 2020; and]

Case 2:20-cv-01660-NJ Filed 02/02/23 Page9of38 Document 289-2
[FOR REDUCING OR SUSPENDING CITY OR OTHER GOVERNMENT SERVICES: WHEREAS, it is in the City of
Wauwatosa’s best interest to suspend [specific city services] from access or use by members of the public
to protect the safety and integrity of City staff and resources and to continue the orderly functioning of
City government and other government services beginning at __:00 p.m. on , 2020, and each
night/day thereafter until __:00 a.m. on , 2020; and]

[FOR CLOSING CITY BUILDINGS/FACILITIES/SCHOOLS: WHEREAS, it is in the City of Wauwatosa’s best
interest to close all City of Wauwatosa [and Wauwatosa School District] facilities to access by members
of the public to protect the safety of the persons and resources necessary to continue the orderly
functioning of City government and other government services [and to protect the ability of Wauwatosa’s
schools to continue the education of the community’s children] beginning at __:00 p.m. on , 2020,
and each night/day thereafter until __:00 a.m. on , 2020; and]

[FOR OTHER EMERGENCY ACTIONS REQUIRED: WHEREAS, it is in the City of Wauwatosa’s best interest to
[what is being ordered] during this state of emergency to [what is being protected or preserved by this

action] beginning at __:00 p.m. on , 2020, and each night and day thereafter until _:00 a.m. on
2020; and]

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted
to me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions
have given rise to [a riot or civil commotion/a disaster/an imminent threat of a disaster], which [impairs
transportation/food or fuel supplies/medical care/fire/health/police protection/other critical systems]
and have thereby created a state of emergency in Wauwatosa, and that the proclamation of an
emergency is necessary and expedient for the health, safety, and protection of people and property in
Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from today’s date until
, 2020, at __:00 [a.m./p.m.] and shall be subject to ratification, alteration, modification, or
repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page10o0f38 Document 289-2
From: Alan Kesner

Sent: Thursday, September 24, 2020 12:25 PM

To: Dennis McBride

Cc: James Case

Subject: RE: DA Operational Update-CONFIDENTIAL
Attachments: City - Emergency Declaration DRAFT 9-17-20.docx

Here you go, Mayor.
Chief, we need to make sure that the Mayor has access to the EOC folder.

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

From: Dennis McBride <dmcbride@wauwatosa.net>
Sent: Thursday, September 24, 2020 12:24 PM

To: Alan Kesner <akesner@wauwatosa.net>
Subject: Re: DA Operational Update-CONFIDENTIAL

It doesn't allow me another path. Could you just send it as a regular attachment?

Dennis R. McBride
Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Alan Kesner

Sent: Thursday, September 24, 2020 10:15:02 AM

To: Dennis McBride; Luke Vetter; James Archambo

Cc: Barry Weber; Michael Schultz; Jack Morrison; Abby L. Pavlik; Joseph Roy
Subject: RE: DA Operational Update-CONFIDENTIAL

That might be a security setting in Outlook. Try going in to that file path through file explorer, | think.
S:\EOC\Emergency Management\EOC Forms\Tosa EOC

Alan Kesner

Wauwatosa City Attorney

akesner@wauwatosa.net
414.479.8905

From: Dennis McBride <dmcbride@wauwatosa.net>
Sent: Thursday, September 24, 2020 10:10 AM
To: Alan Kesner <akesner@wauwatosa.net>; Luke Vetter <lvetter@wauwatosa.net>; James Archambo

Case 2:20-cv-01660-NJ Filed 02/02/23. Page11of38 Document 289-2
<jarchambo@wauwatosa.net>

Cc: Barry Weber <bweber@wauwatosa.net>; Michael Schultz <mschultz@wauwatosa.net>; Jack
Morrison <jmorrison@wauwatosa.net>; Abby L. Pavlik <apavlik@wauwatosa.net>; Joseph Roy
<jroy@wauwatosa.net>

Subject: Re: DA Operational Update-CONFIDENTIAL

My access to your attachment is blocked. Can you undo the block, Alan?

Dennis R. McBride
Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Alan Kesner

Sent: Thursday, September 24, 2020 10:08:45 AM

To: Dennis McBride; Luke Vetter; James Archambo

Cc: Barry Weber; Michael Schultz; Jack Morrison; Abby L. Pavlik; Joseph Roy
Subject: RE: DA Operational Update-CONFIDENTIAL

| did make a couple of small tweaks to the Draft declaration. Remember, it has “extra” stuff in there in
case there are items we feel we do not need, and a few blank spaces to be filled in before it is actually
executed.

Attached is a link to the latest draft, located in the folder $:\EOC\Emergency Management\EOC
Forms\Tosa EOC

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

From: Dennis McBride <dmcbride@wauwatosa.net>

Sent: Thursday, September 24, 2020 9:27 AM

To: Luke Vetter <Ilvetter@wauwatosa.net>; James Archambo <jarchambo@wauwatosa,.net>

Cc: Barry Weber <bweber@wauwatosa.net>; Michael Schultz <mschultz@wauwatosa.net>; Jack
Morrison <jmorrison@wauwatosa.net>; Abby L. Pavlik <apavlik@wauwatosa.net>; Joseph Roy
<jroy@wauwatosa.net>; Alan Kesner <akesner@wauwatosa.net>

Subject: Re: DA Operational Update-CONFIDENTIAL

Thanks for the information, Captain. The approach to the State Reps that you suggest is the
one | intended to take, if they actually care enough to call me. | appreciate all that you and
the WPD are doing to prepare for what will be a difficult time. My goal, and yours, is to make
sure that no one gets hurt.

| spoke to the DA yesterday. He did not indicate when he will issue his decision. | am
prepared to sign the emergency declaration as soon as necessary.

Case 2:20-cv-01660-NJ Filed 02/02/23. Page12of38 Document 289-2
Dennis R. McBride

Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Luke Vetter

Sent: Thursday, September 24, 2020 8:28:54 AM

To: Dennis McBride; James Archambo

Cc: Barry Weber; Michael Schultz; Jack Morrison; Abby L. Pavlik; Joseph Roy; Alan Kesner
Subject: DA Operational Update-CONFIDENTIAL

Mayor and Jim-

The PD and City EOC continue to meet and pin down operational plans for the DA announcement. We
are very prepared. Mayor, | know that State Reps. Hutton and Kooyenga sent a letter to you,
requesting National Guard resources.

Know that we have had several meetings with the NG, with more to come in the next days, to stage
and have NG forces here in Tosa....they will be here on day 1 of this incident (CONFIDENTIAL).
However, disclosing this publicly in a response to the State Reps, or the public in general, would
compromise our operations. We do not want the protest element knowing our plans and preparation
level — this would be a risk to Officer safety. This is especially important since we know there are
Antifa and out of state agitators in Milwaukee. Two Officers were shot in Louisville KY last night during
their protests.

Capt. Morrison and Melissa spoke last night — the PD will not be responding to the State Reps.
However, it would be appropriate for Melissa/city to include in a response, if you were planning to do
so, ONLY indicating that “the Wauwatosa Police Department is fully prepared to respond to civil
unrest.”

As for other Operational updates, we continue to refine our plans and have things lined up: vehicles,
officers, soldiers, equipment, radios, incident management teams, County and State, NG resources. |
don’t believe | will have time to meet this week to provide our “weekly” update. | hope this email
suffices to do so.

Lastly, we will need the emergency declaration signed by you that Alan has prepared as soon as we
hear from the DA, and | will send it out to the OEM and NG to officially move their resources into Tosa.

Contact me with any questions. | appreciate you keeping the details of this operation confidential.

CC: WUPD PIO Office

Captain Luke Vetter
Operations Bureau
Wauwatosa Police Department

1700 N 116' st

Case 2:20-cv-01660-NJ Filed 02/02/23. Page13o0f38 Document 289-2
Wauwatosa, WI 53226

Phone: 414-607-7072
Fax: 414-471-8447
E-Mail: lvetter@wauwatosa.net

Case 2:20-cv-01660-NJ Filed 02/02/23. Page14of38 Document 289-2
MAYORAL PROCLAMATION/GENERIC DRAFT FOR POSSIBLE USE IN THE EVENT OF CIVIL UNREST:

[ADD OR REMOVE SECTIONS AS NECESSARY TO ADDRESS CONDIITIONS BASED UPON SPECIFIC SITUATION
WHICH MAY BE ARISING]

[Create Final version for execution on Mayoral letterhead or as a formal proclamation with City Seal]

Drafted September 17, 2020, by Alan Kesner, Wauwatosa City Attorney

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, on [DATE], 2020, the Wauwatosa [Police/Fire/Health] Department has confirmed that an
emergency exists in the City of Wauwatosa due to [unrest in the Milwaukee area/or insert facts
describing other more specific situations] which creates concerns for the safety of persons and property
and impairs [Choose all that apply: transportation/food or fuel supplies/medical care/fire/ or health or
police protection/other critical systems] in Wauwatosa; and

WHEREAS, [STATE NECESSARY protections being provided. Examples: (removing traffic and pedestrians
from Wauwatosa streets/limiting the supply of flammable materials/reducing access to certain
facilities/clearing the roadways of parked vehicles and other obstructions/preserving resources for
expected responses/protecting the safety of city-school-public employees] in the most expedient manner
possible is necessary to reduce safety risks related to such activity and to protect persons and property
in Wauwatosa; and

[FOR IMPOSITION OF CURFEW: WHEREAS, it is in the City of Wauwatosa’s best interest to enact a
curfew by which pedestrian and vehicular traffic on Wauwatosa streets — except for persons who are
going to or from work and government officials, social service workers, and credentialed members of
the press acting in their official capacities — is prohibited between the hours of __:00 p.m. on ,
2020, through 6:00 a.m. on , 2020, and between the hours of 7:00 p.m. and 6:00 a.m. on each
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[FOR LIMITING OVERNIGHT PARKING: WHEREAS, it is in the City of Wauwatosa’s best interest to
prohibit overnight parking of vehicles and remove all possible traffic obstructions in Wauwatosa to
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between the hours of — :00 p.m. on , 2020, and each night thereafter until 6:00 a.m. on

2020; and]

[FOR CLOSURE OF GAS STATIONS, ETC.: WHEREAS, it is in the City of Wauwatosa’s best interest to
prohibit access to fuel and other readily combustible materials by closing gasoline stations, hardware
stores, home improvement stores, and other facilities in Wauwatosa which provide access to materials
which could be used to start or accelerate the burning of buildings and other property and thereby
potentially cause injuries to people or damage to property, and also by limiting the use or transportation
of containers used or capable of being used to transport and dispense such materials by persons seeking
to cause damage of this type, between the hours of __:00 p.m. on , 2020, and each night/day
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Case 2:20-cv-01660-NJ Filed 02/02/23. Page15o0f38 Document 289-2
[FOR REDUCING OR SUSPENDING CITY OR OTHER GOVERNMENT SERVICES: WHEREAS, it is in the City of
Wauwatosa’s best interest to suspend [specific city services] from access or use by members of the public
to protect the safety and integrity of City staff and resources and to continue the orderly functioning of
City government and other government services beginning at __:00 p.m. on , 2020, and each
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of the public to protect the safety of the persons and resources necessary to continue the orderly
functioning of City government and other government services [and to protect the ability of Wauwatosa’s
schools to continue the education of the community’s children], which may result in certain City services,
including dispatch and response of some City resources, becoming temporarily unavailable, beginning at
__:00 p.m. on , 2020, and each night/day thereafter until _ :00 a.m. on , 2020; and]

[FOR OTHER EMERGENCY ACTIONS REQUIRED: WHEREAS, it is in the City of Wauwatosa’s best interest to
[what is being ordered] during this state of emergency to [what is being protected or preserved by this
action] beginning at __:00 p.m. on , 2020, and each night and day thereafter until _:00 a.m. on
2020; and]

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted
to me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions
have given rise to [a riot or civil commotion/a disaster/an imminent threat of a disaster], which [impairs
transportation/food or fuel supplies/medical care/fire/health/police protection/other critical systems]
and have thereby created a state of emergency in Wauwatosa, and that the proclamation of an
emergency is necessary and expedient for the health, safety, and protection of people and property in
Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from today’s date until
, 2020, at __:00 [a.m./p.m.] and shall be subject to ratification, alteration, modification, or
repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page16o0f38 Document 289-2
From: James Archambo

Sent: Tuesday, September 29, 2020 10:18 PM

To: Luke Vetter

Cc: Barry Weber

Subject: FW: DA Operational Update-CONFIDENTIAL
Attachments: City - Emergency Declaration DRAFT 9-17-20.docx
Luke,

Do you or have you seen the most current “Proclamation of Emergency”? it is in the EOC file but | am
also attaching it here. | would believe you’ve seen it but | want to be sure any and all contingencies are
provided for.

James Archambo
City Administrator
Wauwatosa, WI

From: Dennis McBride <dmcbride@wauwatosa.net>

Sent: Thursday, 24 September, 2020 9:27 AM

To: Luke Vetter <lvetter@wauwatosa.net>; James Archambo <jarchambo@wauwatosa.net>

Cc: Barry Weber <bweber@wauwatosa.net>; Michael Schultz <mschultz@wauwatosa.net>; Jack
Morrison <jmorrison@wauwatosa.net>; Abby L. Pavlik <apavlik@wauwatosa.net>; Joseph Roy
<jroy@wauwatosa.net>; Alan Kesner <akesner@wauwatosa.net>

Subject: Re: DA Operational Update-CONFIDENTIAL

Thanks for the information, Captain. The approach to the State Reps that you suggest is the
one | intended to take, if they actually care enough to call me. | appreciate all that you and
the WPD are doing to prepare for what will be a difficult time. My goal, and yours, is to make
sure that no one gets hurt.

| spoke to the DA yesterday. He did not indicate when he will issue his decision. | am
prepared to sign the emergency declaration as soon as necessary.

Dennis R. McBride

Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Luke Vetter

Sent: Thursday, September 24, 2020 8:28:54 AM

To: Dennis McBride; James Archambo

Cc: Barry Weber; Michael Schultz; Jack Morrison; Abby L. Pavlik; Joseph Roy; Alan Kesner
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Mayor and Jim-

Case 2:20-cv-01660-NJ Filed 02/02/23. Page17of38 Document 289-2
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CC: WUPD PIO Office

Captain Luke Vetter
Operations Bureau
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1700 N 116" st
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Phone: 414-607-7072
Fax: 414-471-8447
E-Mail: lvetter@wauwatosa.net

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 18o0f38 Document 289-2
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[Create Final version for execution on Mayoral letterhead or as a formal proclamation with City Seal]

Drafted September 17, 2020, by Alan Kesner, Wauwatosa City Attorney

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

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potentially cause injuries to people or damage to property, and also by limiting the use or transportation
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Case 2:20-cv-01660-NJ Filed 02/02/23. Page 19o0f38 Document 289-2
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, 2020, at __:00 [a.m./p.m.] and shall be subject to ratification, alteration, modification, or
repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 200f38 Document 289-2
From: Alan Kesner

Sent: Wednesday, September 30, 2020 12:54 PM
To: Dennis McBride

Cc: Hanna Kolberg

Subject: CONFIDENTIAL - Draft Declaration
Attachments: 00015978.docx

Here is the draft of an emergency declaration as described. Might have repetitive elements but covers
all that we need, | believe.

Mayor, give me a call when you have had a chance to review it.

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 21o0f38 Document 289-2
[Create Final version for execution on Mayoral letterhead]

Drafted September 30, 2020

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department has been informed that, on October 7, 2020, the
Milwaukee County District Attorney will be releasing his findings in the matter of the investigation of
Officer Joseph Mensah regarding the killing of Alvin Cole in the City of Wauwatosa in February, 2020;
and

WHEREAS, based upon recent experience with activity protesting the continued employment of Officer
Mensah in the City of Wauwatosa and upon community response to decisions and actions regarding
police officers nationwide, most recently in Kenosha, Wisconsin and Louisville, Kentucky, it is anticipated
that an emergency will exist in the City of Wauwatosa due to conditions which will arise following that
announcement, including civil commotion throughout the City of Wauwatosa which creates concerns for
the safety of persons and property and will impair transportation, health or police protection and other
critical systems in Wauwatosa; and

WHEREAS, in order to protect the systems and services described above, including the safety of persons
and property, it will be necessary to remove traffic and pedestrians from Wauwatosa streets, limit the
supply of flammable materials, reduce access to certain facilities, preserving resources for expected
responses and protect the safety of public employees, in the most expedient manner possible to reduce
safety risks related to such activity and to protect persons and property in Wauwatosa; and

WHEREAS, it is in the City of Wauwatosa’s best interest to enact a curfew by which pedestrian and
vehicular traffic on Wauwatosa streets — except for persons who are going to or from work and
government officials, social service workers, and credentialed members of the press acting in their
official capacities — is prohibited between the hours of 700 p.m. on October 7, 2020, through 6:00 a.m.
on October 8, 2020, and between the hours of 7:00 p.m. and 6:00 a.m. on each night thereafter through
October 11, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit overnight parking of vehicles and
remove all possible traffic obstructions in Wauwatosa to protect and preserve the ability of emergency
service providers to respond when and where necessary between the hours of 7:00 p.m. on October 7,
2020, and each night thereafter until 6:00 a.m. on October 11, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit access to fuel and other readily
combustible materials by closing gasoline stations, hardware stores, home improvement stores, and
other facilities in Wauwatosa which provide access to materials which could be used to start or
accelerate the burning of buildings and other property and thereby potentially cause injuries to people
or damage to property, and also by limiting the use or transportation of containers used or capable of
being used to transport and dispense such materials by persons seeking to cause damage of this type,
between the hours of 7:00 p.m. on October 7, 2020, and each night/day thereafter until 6:00 a.m. on
October 11, 2020; and

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 220f38 Document 289-2
WHEREAS, it is in the City of Wauwatosa’s best interest to suspend City Hall and Public Library services
from access or use by members of the public, and to conduct any scheduled public meetings in a fully
virtual manner during this state of emergency, to protect the safety and integrity of City staff and
resources and to continue the orderly functioning of City government and other government services
beginning at 7:00 p.m. on October 7, 2020, and each night/day thereafter until 6:00 a.m. on October 11,
2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to close all City of Wauwatosa [and Wauwatosa
School District] facilities to access by members of the public to protect the safety of the persons and
resources necessary to continue the orderly functioning of City government and other government
services [and to protect the ability of Wauwatosa’s schools to continue the education of the community’s
children], which may result in certain City services, including dispatch and response of some City
resources, becoming temporarily unavailable, beginning at 7:00 p.m. on October 7, 2020, and each
night/day thereafter until 6:00 a.m. on October 11, 2020; and

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted
to me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions
will be likely to give rise to and create an imminent threat of a riot or civil commotion which will impairs
transportation, fire, health, and police protection and operation of other critical systems and will
thereby create a state of emergency in Wauwatosa, and that the proclamation of an emergency is
necessary and expedient for the health, safety, and protection of people and property in Wauwatosa;
and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from October 7 at 12:00
noon until October 11, 2020, at 6:00 a.m. and shall be subject to ratification, alteration, modification, or
repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
day of , 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 230f38 Document 289-2
From: Alan Kesner

Sent: Wednesday, September 30, 2020 12:58 PM
To: Luke Vetter

Subject: CONFIDENTIAL Draft Declaration
Attachments: 00015978.docx

Luke:

I just sent this to the Mayor and Hanna to review. I’m sure it will get edited. Does this cover the
things you need?

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 24o0f38 Document 289-2
[Create Final version for execution on Mayoral letterhead]

Drafted September 30, 2020

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department has been informed that, on October 7, 2020, the
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announcement, including civil commotion throughout the City of Wauwatosa which creates concerns for
the safety of persons and property and will impair transportation, health or police protection and other
critical systems in Wauwatosa; and

WHEREAS, in order to protect the systems and services described above, including the safety of persons
and property, it will be necessary to remove traffic and pedestrians from Wauwatosa streets, limit the
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Case 2:20-cv-01660-NJ Filed 02/02/23. Page 25o0f38 Document 289-2
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2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 26o0f38 Document 289-2
From: Dennis McBride

Sent: Wednesday, September 30, 2020 1:47 PM
To: Alan Kesner

Cc: Hanna Kolberg

Subject: Re: CONFIDENTIAL - Draft Declaration
Attachments: City - emergency declaration.9-30-20.docx

My revised draft is attached.

Dennis R. McBride

Mayor, City of Wauwatosa
7725 West North Avenue
Wauwatosa, WI 53213
mayor@wauwatosa.net
(414) 479-8915

From: Alan Kesner

Sent: Wednesday, September 30, 2020 12:54:18 PM
To: Dennis McBride

Cc: Hanna Kolberg

Subject: CONFIDENTIAL - Draft Declaration

Here is the draft of an emergency declaration as described. Might have repetitive elements but covers
all that we need, | believe.

Mayor, give me a call when you have had a chance to review it.

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[Create Final version for execution on Mayoral letterhead]

Drafted September 30, 2020

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department (“WPD”) has been informed that on October 7, 2020, the
Milwaukee County District Attorney will release his findings in the matter of the investigation of Officer
Joseph Mensah regarding the killing of Alvin Cole in the City of Wauwatosa in February 2020; and

WHEREAS, based upon recent experience with protests concerning the continued employment of Officer
Mensah by the WPD and upon community response to decisions and actions regarding police officers
nationwide, most recently in Kenosha, Wisconsin, and Louisville, Kentucky, it is anticipated that an
emergency will exist in the City of Wauwatosa due to conditions which will arise following that
announcement, including civil unrest throughout Wauwatosa which creates concerns for the safety of
persons and property and will impair transportation, health, and police protection and other critical
systems in Wauwatosa; and

WHEREAS, in order to protect the systems and services described above, including the safety of persons
and property, it will be necessary to remove traffic and pedestrians from Wauwatosa streets, limit the
supply of flammable materials, reduce access to certain facilities, preserve resources for expected
responses and protect the safety of public employees in the most expedient manner possible to reduce
safety risks related to such activity and to protect persons and property in Wauwatosa; and

WHEREAS, it is in the City of Wauwatosa’s best interest to enact a curfew by which pedestrian and
vehicular traffic on Wauwatosa streets — except for persons who are going to or from work and
government officials, social service workers, and credentialed members of the press acting in their official
capacities — is prohibited between the hours of 7:00 p.m. and 6:00 a.m. each night beginning at 7:00 p.m.
on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020;

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit overnight parking of vehicles and
remove all possible traffic obstructions in Wauwatosa to protect and preserve the ability of emergency
service providers to respond when and where necessary between the hours of 7:00 p.m. and 6:00 a.m.
each night beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit access to fuel and other readily
combustible materials by closing gasoline stations, hardware stores, home improvement stores, and other
facilities in Wauwatosa which provide access to materials which could be used to start or accelerate the
burning of buildings and other property and thereby potentially cause injuries to people or damage to
property, and also by limiting the use or transportation of containers used or capable of being used to
transport and dispense such materials by persons seeking to cause damage of this type, between 7:00
p.m. and 6:00 a.m. each night beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020; and

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 28o0f38 Document 289-2
WHEREAS, it is in the City of Wauwatosa’s best interest to suspend City Hall and Public Library services
from access or use by members of the public, and to conduct any scheduled public meetings in a fully
virtual manner during this state of emergency, to protect the safety and integrity of City staff and
resources and to continue the orderly functioning of City government and other government services
beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to close all City of Wauwatosa and Wauwatosa
School District facilities to access by members of the public to protect the safety of the persons and
resources necessary to continue the orderly functioning of City government and other government
services and to protect the ability of Wauwatosa’s schools to continue the education of the community’s
children, which may result in certain City services, including dispatch and response of some City resources,
becoming temporarily unavailable, beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020;

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions will
be likely to give rise to and create an imminent threat of a riot or civil unrest which will impair
transportation, fire, health, and police protection and operation of other critical systems and will thereby
create a state of emergency in Wauwatosa, and that the proclamation of an emergency is necessary and
expedient for the health, safety, and protection of people and property in Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from October 7, 2020, at
12:00 noon until at 6:00 a.m. on October 11, 2020, and shall be subject to ratification, alteration,
modification, or repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
30° day of September, 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 290f38 Document 289-2
From: Alan Kesner

Sent: Wednesday, September 30, 2020 1:54 PM
To: Luke Vetter

Cc: Hanna Kolberg

Subject: City - emergency declaration.9-30-20
Attachments: City - emergency declaration.9-30-20.docx
Luke:

Here is the Mayor’s edited version of the declaration. Rather than closing hardware stores, it just
prohibits the display or sale of flammable materials and containers during curfew times. Probably a
lot to ask if we were to close all hardware stores for five or six days, especially if there is damage
anywhere...

Does this look like it does what you need?

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[Create Final version for execution on Mayoral letterhead]

Drafted September 30, 2020

38 oi oie ok ie ie 2 ok ok ok

PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department (“WPD”) has been informed that on October 7, 2020, the
Milwaukee County District Attorney will release his findings in the matter of the investigation of Officer
Joseph Mensah regarding the killing of Alvin Cole in the City of Wauwatosa in February 2020; and

WHEREAS, based upon recent experience with protests concerning the continued employment of Officer
Mensah by the WPD and upon community response to decisions and actions regarding police officers
nationwide, most recently in Kenosha, Wisconsin, and Louisville, Kentucky, it is anticipated that an
emergency will exist in the City of Wauwatosa due to conditions which will arise following that
announcement, including civil unrest throughout Wauwatosa which creates concerns for the safety of
persons and property and will impair transportation, health, and police protection and other critical
systems in Wauwatosa; and

WHEREAS, in order to protect the systems and services described above, including the safety of persons
and property, it will be necessary to remove traffic and pedestrians from Wauwatosa streets, limit the
supply of flammable materials, reduce access to certain facilities, preserve resources for expected
responses and protect the safety of public employees in the most expedient manner possible to reduce
safety risks related to such activity and to protect persons and property in Wauwatosa; and

WHEREAS, it is in the City of Wauwatosa’s best interest to enact a curfew by which pedestrian and
vehicular traffic on Wauwatosa streets — except for persons who are going to or from work and
government officials, social service workers, and credentialed members of the press acting in their official
capacities — is prohibited between the hours of 7:00 p.m. and 6:00 a.m. each night beginning at 7:00 p.m.
on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020;

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit overnight parking of vehicles and
remove all possible traffic obstructions in Wauwatosa to protect and preserve the ability of emergency
service providers to respond when and where necessary between the hours of 7:00 p.m. and 6:00 a.m.
each night beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit access to fuel and other readily
combustible materials by closing gasoline stations, hardware stores, home improvement stores, and other
facilities in Wauwatosa which provide access to materials which could be used to start or accelerate the
burning of buildings and other property and thereby potentially cause injuries to people or damage to
property, and also by limiting the use or transportation of containers used or capable of being used to
transport and dispense such materials by persons seeking to cause damage of this type, between 7:00
p.m. and 6:00 a.m. each night beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020; and

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 31o0f38 Document 289-2
WHEREAS, it is in the City of Wauwatosa’s best interest to suspend City Hall and Public Library services
from access or use by members of the public, and to conduct any scheduled public meetings in a fully
virtual manner during this state of emergency, to protect the safety and integrity of City staff and
resources and to continue the orderly functioning of City government and other government services
beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to close all City of Wauwatosa and Wauwatosa
School District facilities to access by members of the public to protect the safety of the persons and
resources necessary to continue the orderly functioning of City government and other government
services and to protect the ability of Wauwatosa’s schools to continue the education of the community’s
children, which may result in certain City services, including dispatch and response of some City resources,
becoming temporarily unavailable, beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020;

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions will
be likely to give rise to and create an imminent threat of a riot or civil unrest which will impair
transportation, fire, health, and police protection and operation of other critical systems and will thereby
create a state of emergency in Wauwatosa, and that the proclamation of an emergency is necessary and
expedient for the health, safety, and protection of people and property in Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from October 7, 2020, at
12:00 noon until at 6:00 a.m. on October 11, 2020, and shall be subject to ratification, alteration,
modification, or repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
30° day of September, 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 32 o0f38 Document 289-2
From: Alan Kesner

Sent: Wednesday, September 30, 2020 3:41 PM

To: Dennis McBride; Hanna Kolberg; Luke Vetter
Subject: A20-00021 Emergency Operations EOC General
Attachments: 00015979.docx

OK, here is the version for signature. Just needs to be printed on Mayor’s letterhead.

** Attached file(s):
City - emergency declaration.9-30-20 (00015979.docx)

Alan Kesner

Wauwatosa City Attorney
akesner@wauwatosa.net
414.479.8905

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 33 of 38

Document 289-2
PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department (“WPD”) has been informed that on October 7, 2020, the
Milwaukee County District Attorney will release his findings in the matter of the investigation of Officer
Joseph Mensah regarding the killing of Alvin Cole in the City of Wauwatosa in February 2020; and

WHEREAS, based upon recent experience with protests concerning the continued employment of Officer
Mensah by the WPD and upon community response to decisions and actions regarding police officers
nationwide, most recently in Kenosha, Wisconsin, and Louisville, Kentucky, it is anticipated that an
emergency will exist in the City of Wauwatosa due to conditions which will arise following that
announcement, including civil unrest throughout Wauwatosa which creates concerns for the safety of
persons and property and will impair transportation, health, and police protection and other critical
systems in Wauwatosa; and

WHEREAS, in order to protect the systems and services described above, including the safety of persons
and property, it will be necessary to remove traffic and pedestrians from Wauwatosa streets, limit the
supply of flammable materials, reduce access to certain facilities, preserve resources for expected
responses and protect the safety of public employees in the most expedient manner possible to reduce
safety risks related to such activity and to protect persons and property in Wauwatosa; and

WHEREAS, it is in the City of Wauwatosa’s best interest to enact a curfew by which pedestrian and
vehicular traffic on Wauwatosa streets — except for persons who are going to or from work and
government officials, social service workers, and credentialed members of the press acting in their official
capacities — is prohibited between the hours of 7:00 p.m. and 6:00 a.m. each night beginning at 7:00 p.m.
on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020;

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit overnight parking of vehicles and
remove all possible traffic obstructions in Wauwatosa to protect and preserve the ability of emergency
service providers to respond when and where necessary between the hours of 7:00 p.m. and 6:00 a.m.
each night beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to prohibit access to fuel and other readily
combustible materials by closing gasoline stations and prohibiting the display and sale of flammable
materials at hardware stores, home improvement stores, and other facilities in Wauwatosa which provide
access to materials which could be used to start or accelerate the burning of buildings and other property
and thereby potentially cause injuries to people or damage to property, and also by limiting the sale, use
or transportation of containers used or capable of being used to transport and dispense such materials by
persons seeking to cause damage of this type, between 7:00 p.m. and 6:00 a.m. each night beginning at
7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to suspend City Hall and Public Library services
from access or use by members of the public, and to conduct any scheduled public meetings in a fully
virtual manner during this state of emergency, to protect the safety and integrity of City staff and
resources and to continue the orderly functioning of City government and other government services
beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to close all City of Wauwatosa and Wauwatosa
School District facilities to access by members of the public to protect the safety of the persons and

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 34o0f38 Document 289-2
resources necessary to continue the orderly functioning of City government and other government
services and to protect the ability of Wauwatosa’s schools to continue the education of the community’s
children, which may result in certain City services, including dispatch and response of some City resources,
becoming temporarily unavailable, beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020;

NOW, THEREFORE, I, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions will
be likely to give rise to and create an imminent threat of a riot or civil unrest which will impair
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create a state of emergency in Wauwatosa, and that the proclamation of an emergency is necessary and
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FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
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described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from October 7, 2020, at
12:00 noon until at 6:00 a.m. on October 12, 2020, and shall be subject to ratification, alteration,
modification, or repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
30° day of September, 2020.

Dennis R. McBride, Mayor

2

Case 2:20-cv-01660-NJ Filed 02/02/23. Page 35o0f38 Document 289-2
From:

Sent:

To:

Cc:

Subject:
Attachments:

Hanna Kolberg

Wednesday, September 30, 2020 4:08 PM

Alan Kesner; Luke Vetter
Dennis McBride

Signed Emergency Proclamation
10 7 Emergency Proclamation SIGNED. pdf

Hanna Kolberg
Assistant City Attorney
City of Wauwatosa
7725 W. North Avenue
Wauwatosa, WI 53213
Phone: 414-479-8905

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Filed 02/02/23 Page 36 of 38

Document 289-2
CITY OF WAUWATOSA DENNIS McBRIDE

7725 WEST NORTH AVENUE Mayor
WAUWATOSA, WISCONSIN 53213
PHONE: (414) 479-8915
FAX: (414) 479-8985
E-MAIL: mayor@wauwatosa.net
www.wauwatosa.net

PROCLAMATION OF EMERGENCY

WHEREAS, the Wauwatosa Police Department (“WPD”) has been informed that on October 7, 2020, the
Milwaukee County District Attorney will release his findings in the matter of the investigation of Officer
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access to materials which could be used to start or accelerate the burning of buildings and other property
and thereby potentially cause injuries to people or damage to property, and also by limiting the sale, use
or transportation of containers used or capable of being used to transport and dispense such materials by
persons seeking to cause damage of this type, between 7:00 p.m. and 6:00 a.m. each night beginning at
7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

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Case 2:20-cv-01660-NJ Filed 02/02/23. Page 37of38 Document 289-2
virtual manner during this state of emergency, to protect the safety and integrity of City staff and
resources and to continue the orderly functioning of City government and other government services
beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on October 12, 2020; and

WHEREAS, it is in the City of Wauwatosa’s best interest to close all City of Wauwatosa and Wauwatosa
School District facilities to access by members of the public to protect the safety of the persons and
resources necessary to continue the orderly functioning of City government and other government
services and to protect the ability of Wauwatosa’s schools to continue the education of the community’s
children, which may result in certain City services, including dispatch and response of some City resources,
becoming temporarily unavailable, beginning at 7:00 p.m. on October 7, 2020, and ending at 6:00 a.m. on
October 12, 2020;

NOW, THEREFORE, |, Dennis R. McBride, Mayor of the City of Wauwatosa, under the authority granted to
me by Sections 323.11 and 323.14(4)(b) of the Wisconsin Statutes, declare that the above conditions will
be likely to give rise to and create an imminent threat of a riot or civil unrest which will impair
transportation, fire, health, and police protection and operation of other critical systems and will thereby
create a state of emergency in Wauwatosa, and that the proclamation of an emergency is necessary and
expedient for the health, safety, and protection of people and property in Wauwatosa; and

FURTHERMORE, | hereby declare that the above-described actions necessary during this state of
emergency to protect people and property within Wauwatosa are hereby ordered to be implemented as
described above; and

FINALLY, | hereby declare that this proclamation of an emergency shall extend from October 7, 2020, at
42:00 noon until at 6:00 a.m. on October 12, 2020, and shall be subject to ratification, alteration,
modification, or repeal by the Wauwatosa Common Council as soon as that Council can meet.

As Mayor of the City of Wauwatosa, | hereunto set my hand hereto this
30" day of September, 2020. ft
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7 ep a
Dennis R. McBride, Mayol

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Case 2:20-cv-01660-NJ Filed 02/02/23. Page 38o0f38 Document 289-2
